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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA

                                                   :
Harold Stewart,                                    : Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Dynamic Legal Recovery; and DOES 1-10,             : COMPLAINT
inclusive,                                         : JURY TRIAL DEMANDED
                                                   :
                        Defendants.                :
                                                   :

        For this Complaint, the Plaintiff, Harold Stewart, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, Harold Stewart (“Plaintiff”), is an adult individual residing in

Warner Robins, Georgia, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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       5.      Defendant Dynamic Legal Recovery (“DLR”), is a California business entity with

an address of 25600 Rye Canyon Road, Suite 209, Valencia, California 91355, operating as a

collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by DLR and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      DLR at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to DLR for collection, or DLR

was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. DLR Engages in Harassment and Abusive Tactics

       12.     By letter dated February 11, 2020, DLR contacted Plaintiff in an attempt to

collect a T-mobile Debt.

       13.     On or around February 14, 2020, Plaintiff called DLR to find out more

information regarding the Debt.

       14.     DLR informed Plaintiff that the Debt was incurred in Germany.
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        15.    Plaintiff responded that he had not been to Germany since 1994, and never had a

T-mobile account.

        16.    DLR proceeded to make disrespectful and rude comments to Plaintiff, and told

Plaintiff that if he does not pay the Debt, it will stay on his credit report forever and will not

come off.

   C. Plaintiff Suffered Actual Damages

        17.    The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

        18.    As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                              COUNT I

                    VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

        19.    The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        20.    The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

        21.    The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

abusive language when speaking with the consumer.

        22.    The Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used

false, deceptive, or misleading representation or means in connection with the collection of a

debt.
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       23.     The Defendants’ conduct violated 15 U.S.C. § 1692e(8) in that Defendants

threatened to communicate false credit information.

       24.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

       25.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

       26.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       27.     The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                           COUNT II

         VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES ACT,

                                  O.C.G.A. § 10-1-390, et seq.

       28.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       29.     The Plaintiff is a “consumer” as the term is defined by O.C.G.A. § 10-1-392(6).

       30.     The Plaintiff incurred a Debt as a result of engaging into “[c]onsumer

transactions” as the term is defined by O.C.G.A. § 10-1-392(10).

       31.     The Defendants’ unfair or deceptive acts to collect the Debt occurred in

commerce, in violation of O.C.G.A. § 10-1-393(a).

       32.     The Plaintiff suffered mental anguish, emotional distress and other damages in an

amount to be proven at trial.

       33.     Defendant’s failure to comply with these provisions constitutes an unfair or

deceptive act under O.C.G.A. § 10-1-393(a) and, as such, the Plaintiff is entitled to damages plus

reasonable attorney’s fees.
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                                  PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) and O.C.G.A. § 10-1-

                    399(a) against Defendants;

                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                    against Defendants;

                 3. Treble damages pursuant to O.C.G.A. § 10-1-399(c) against Defendants;

                 4. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                    § 1692k(a)(3) and O.C.G.A. § 10-1-399(d) against Defendants;

                 5. Punitive damages pursuant to O.C.G.A. § 10-1-399(a) against Defendants;

                    and

                 6. Such other and further relief as may be just and proper.

                   TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: August 21, 2020

                                            By: /s/ Sergei Lemberg, Esq.
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